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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 ANDREW R. PERRONG                                     )
 1657 The Fairway #131 Jenkintown, PA 19046            )
                                                       )
                                                       )
                     Plaintiff,                        )       Civil Action
                        vs.                            )                      No: 17-5442
                                                       )
HBW LEADS LLC.                                         )
Et. Al.                                                )
                                                       )
                       Defendants.                     )      Jury Trial Demanded
                                                       )

                                       Notice of Dismissal

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A), Plaintiff hereby notifies the

court that this action is voluntarily dismissed with prejudice as to all defendants, pending the

finalization of settlement, pursuant to Local Rule 41.1(b).




Dated: January 2, 2018

                                                                   /s/
                                                                                  Andrew Perrong
                                                                                  Plaintiff Pro-Se
                                                                          1657 The Fairway #131
                                                                           Jenkintown, PA 19046
                                                                             Phone: 215-791-6957
                                                                              Facsimile: 888-329-
                                                                                            0305
                                                                            andyperrong@gmail.c
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